                             EXHIBIT 38


The University of North Carolina at Chapel Hill: Admissions Policy
                        (UNC0376839-47)




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14 ADMISSIONS POLICY




Admissions

The University of North Carolina                                           Undergraduate Admissions
at Chapel Hill: Admissions Policy                                          Admission of undergraduate students to colleges or schools to
                                                                           pursue programs leading to a baccalaureate degree shall be the
I.   All qualified persons are welcome to seek admission to the
                                                                           responsibility of the Office of Undergraduate Admissions. The
      University of North Carolina at Chapel Hill, and all persons
                                                                           Admissions Office shall apply policies and procedures that, not
      may apply for and accept admission confident that the policy
                                                                           inconsistent with policies adopted by the Board of Trustees,
      and regular practice of the institution are not to discriminate
                                                                           are approved by the Advisory Committee on Undergraduate
      in offering access to its educational programs and activities
                                                                           Admissions.
      on the basis of age, gender, race, color, national origin,
                                                                              In the application of the provisions set forth in III above,
      religion, creed, disability, veteran's status, sexual orientation,
                                                                           preference for admission shall be given to qualified residents of
      gender identity, or gender expression. (See policies.unc.edu/
                                                                           North Carolina; however, in recognition of the educational and
      policies/nondiscrim).
                                                                           other values accruing to North Carolina students, to the institution,
11. Projections of the number of students to be admitted and
                                                                           and to the state from participation of nonresident students in the
      enrolled in any year shall be determined a) by the capacity
                                                                           programs of the institution, nonresidents may be admitted in the
      of the institution to meet the instructional and other needs
                                                                           entering first-year dass in numbers likely to result in no more than
      of students in the colleges, schools, departments, curricula,
                                                                           18 percent nonresident enrollment in the entering first-year dass.
      or other programs to which applicants seek admission and
                                                                              Admission of undergraduates shall be to the first-year class, to
      b) by enrollment levels approved for budgetary or other
                                                                           other classes by transfer after satisfactory completion of one or more
      appropriate purposes.
                                                                           years of acceptable college-level work in some other institution(s) of
III. When at any time the number of qualified applicants
                                                                           higher education, or to Part-Time Classroom Studies.
      for admission exceeds the number of persons who can
                                                                              Admission and enrollment of persons who are candidates for
      be admitted and enrolled (as determined by the criteria
                                                                           financial aid for which athletic ability is a consideration shall be
      specified in II above), those to be offered admission shall
                                                                           conditional upon compliance with applicable regulations of the
      be selected on the basis of a) recognition of the institution's
                                                                           Atlantic Coast Conference and the National Collegiate Athletic
      special responsibility to residents of North Carolina and
                                                                           Association.
      b) the institution's• judgment of the applicant's• relative
      qualifications for satisfactory performance in the specific
      college, school, department, curriculum, or other program to         Admission to the First-Year Class
      which the applicant seeks admission.
                                                                           Admission to and enrollment in the first-year class shall be
Provided that the criteria set forth hereinafter are met, this policy
                                                                           conditional upon graduation from secondary school with such
of competitive admissions shall not prevent the admission of
                                                                           units of secondary school academic course credit as may be
selected applicants a) who give evidence of possessing special
                                                                           specified by the Office of Undergraduate Admissions; however,
talents for University programs requiring such special talents, b)
                                                                           if all other criteria are met, the Admissions Office may make
whose admission is designed to help achieve variety within the
                                                                           exceptions to the secondary school graduation and course credit
total number of students admitted and enrolled, or c) who seek
                                                                           requirements in accordance with procedures approved by the
educational programs not readily available at other institutions.
                                                                           Advisory Committee on Undergraduate Admissions.
   In seeking variety within the total number of students admitted
                                                                              Criteria employed for determination of each applicant's
and enrolled, the University shall affirm its commitment to
                                                                           qualifications for admission shall include a) satisfactory evidence
achieve excellence, to provide for the leadership of the educational,
                                                                           of scholastic promise based upon the applicant's previous
governmental, scientific, business, humanistic, artistic, and
                                                                           academic record, recommendations from schools previously
professional institutions of the state and nation, and to enrich the
                                                                           attended, scores on selected tests of scholastic aptitude or
lives of all the people of North Carolina.
                                                                           achievement, and the applicant's written application for
   In the application of this policy of competitive admissions
                                                                           admission, and b) satisfactory evidence of the applicant's capacity
to nonresident students, preference for admission may be given
                                                                           to cope with the demands of University life.
to nonresident applicants who are children of alumni of the
institution.
IV. Admission of persons to the specific colleges, schools,                Admission by Transfer
      curricula, or other programs of the institution shall be             Admission and enrollment by transfer from another institution
      governed by the provisions set forth below.                          shall be conditional upon a satisfactory academic record on
                                                                           work undertaken in all other institutions attended, satisfactory
                                                                           recommendations from institutions previously attended, and
                                                                           eligibility to return to all previously attended institutions of
                                                                           higher education.




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Part-Time Classroom Studies Admissions                                 • Present a strong overall record of academic achievement
                                                                       • Be in good standing in the last-attended institution where
 Eligibility for admission to Part-Time Classroom Studies shall
                                                                          graduate work has been or is being taken, and
 normally be limited to adult individuals living within commuting
                                                                       • Be admitted as a degree student unless there are exceptional
 distance of Chapel Hill.
                                                                         circumstances justifying admission for nondegree study with the
    Admission to Part-Time Classroom Studies of an applicant who
                                                                          approval of the dean ofThe Graduate School.
 does not hold a baccalaureate degree shall be the responsibility of
                                                                        The graduate student enrollment level for each school,
 the Office of Undergraduate Admissions. Such admissions shall
                                                                        department, or curriculum shall be determined for each academic
 be either
                                                                        year by the dean ofThe Graduate School following consultation
• For full credit, applicable toward fulfillment of degree
                                                                        with each of the schools, departments, and curricula concerned.
   requirements, in which case the minimum requirements shall
   be the same as those for admission to degree programs and           Professional School Admissions
   in which case the Office of Undergraduate Admissions shall
                                                                       Admission of students to the professional degree programs in
   review each applicant using the same admissions criteria as for
                                                                       schools other than The Graduate School and to nondegree
   comparable full-time, degree-seeking students applying to the
                                                                       programs in the schools of the Division of Health Affairs shall
   University; OR
                                                                       be, in each of these schools, the responsibility of its established
• For personal benefit and enjoyment, in which case the applicant
                                                                       committee on admissions, which shall apply policies, procedures,
   may be exempted from the qualitative requirements for
                                                                       and requirements, not inconsistent with the provisions of this
   admission to degree programs. Notwithstanding this exemption
                                                                       policy, adopted by the faculty of the school and approved by the
   from qualitative requirements, the applicant must have
                                                                       chancellor or his delegate.
   graduated from an approved or accredited secondary school and
   must demonstrate the capacity to cope with the demands of           Summer Admissions
   University life.
                                                                        Admission of applicants to any summer session shall be the
 Admission to Part-Time Classroom Studies of an applicant who
                                                                        responsibility
 is currently enrolled in high school shall be the responsibility
                                                                       • Of the Office of Undergraduate Admissions with respect to
 of the Office of Undergraduate Admissions. Such admissions
                                                                          those who wish to begin in the summer an undergraduate
 shall be considered only when an applicant a) seeks to enroll in
                                                                          program of study that will continue into the following academic
 a University course for which there is no comparable course at
                                                                          year or that is intended to lead to a baccalaureate degree from
 the student's secondary school and b) demonstrates adequate
                                                                          the University of North Carolina at Chapel Hill, as well as those
 preparation for the course in which the student seeks to enroll.
                                                                          undergraduates already enrolled in this institution who wish to
    Admission to Part-Time Classroom Studies of an applicant
                                                                          return for undergraduate work in the summer
 who holds a baccalaureate degree shall be the responsibility of
                                                                       • OfThe Graduate School with respect to those who wish to
 the William and Ida Friday Center for Continuing Education.
                                                                          begin a degree program of graduate study in the summer, as well
 Such admissions shall be for personal benefit and enjoyment, for
                                                                          as those graduate students already enrolled in this institution
 the satisfaction of prerequisite requirements for professional or
                                                                          who wish to return for graduate study in the summer
 graduate programs, or for transfer of credit to a postbaccalaureate
                                                                       • Of Part-Time Classroom Studies in the Friday Center for
 degree program, in which case the applicant may be exempted
                                                                          Continuing Education with respect to those who wish to begin
 from the qualitative requirements for admission to degree
                                                                          in the summer on a part-time basis as a postbaccalaureate
 programs.
                                                                          nondegree student, as well as those already enrolled in the
                                                                          University of North Carolina at Chapel Hill who wish to return
Graduate School Admissions                                                for part-time study in the summer.
 With recognition of the institution's special responsibility to        Admission to Summer School by the Office of Undergraduate
 residents of North Carolina but without restrictions based on          Admissions, The Graduate School, and Part-Time Classroom
 residence status, admission to The Graduate School shall be a          Studies shall be in conformity with the provisions set forth in this
 selective process with the objective of enrolling from the pool of     policy for other undergraduate and graduate admissions.
 applicants for each discipline those students who, in the judgment        Admission to Summer School by the dean of Summer School
 of the institution, are best qualified to pursue graduate degrees      shall be in conformity with policies, procedures, and requirements
 in their chosen academic fields. Admission of graduate students        adopted by the Administrative Board of Summer School. Each
 shall be the responsibility of the dean ofThe Graduate School          such admission shall terminate as of the last day of that summer
 with the advice and assistance of the Administrative Board ofThe       term and shall include no commitment, stated or implied, for
 Graduate School and of the graduate faculties of the departments,      admission of the student to any subsequent semester or session of
 schools, and curricula authorized to offer graduate degree             the University of North Carolina at Chapel Hill.
 programs.                                                             V.   Appeals concerning individual admission, or admission
   For admission to The Graduate School, the applicant must                 rescission, decisions shall be governed by the admissions
• Hold a baccalaureate degree from an accredited college                    appeal procedure contained in Appendix A.
 or university in the United States or its equivalent from an
 institution abroad




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 16 ADMISSIONS POLICY



* This policy adopted by resolution ofthe Board ofTrustees on               in person or conduct the appeal by telephone. Following
 September 3, 1976                                                          the hearing, the provost or designee will communicate the
* Amended by Board ofTrustees, August 24, 1984.                             decision to the appellant in writing.
* Amended by Board of Governors, March 14, 1986.                        III. Appeal to the Board of Trustees
*Amended by Board ofTrustees, May 27, 1994.                                 The decision of the provost or his or her designee may be
* Amended by Board ofTrustees, effirtive January 1, 2006.                   appealed to the Board ofTrustees only ifit is contended
* Amended by Board of Trustees, effictive January 23, 2014.                 that a) a provision set forth in the admissions policy has
                                                                            been violated or b) the decision not to admit the individual
                                                                            or to rescind admission resulted from a material procedural
Appendix A: Admissions Appeal Procedure
                                                                            error in the admissions, or appeal, process. The appellant
 This document sets forth the procedures to be followed with                shall file a letter of appeal specifying the grounds for the
 respect to the appeal of a negative admissions decision, including         appeal and all supporting facts upon which the appellant
 a decision to rescind an admission that has already been granted.          bases his or her appeal within 15 days after receiving the
 I. Appeal to Admissions Officer                                            letter communicating the decision of the provost. The appeal
      Appeals concerning individual admission, or admission                 letter shall be sent to the Office of University Counsel for
      rescission, decisions may be had only ifit is contended that          transmission to the Board ofTrustees.
      a) a provision set forth in the University of North Carolina             The Office of University Counsel shall review the appeal
      at Chapel Hill admissions policy ("admissions policy") has            letter to determine ifit states a valid ground for appeal. If
      been violated or b) the decision not to admit the individual          the letter does not state a proper ground for appeal, the
      or to rescind admission resulted from a material procedural           appeal will not go forward to the Board ofTrustees, and
      error in the admissions process. Such an appeal shall be              the appellant will be notified to that effect. Ifthe Office of
      lodged by the applicant-appellant with the administrative             University Counsel determines that the letter of appeal states
      officer (the director of undergraduate admissions, the dean           a valid ground for appeal, it shall transmit the appeal to the
      ofThe Graduate School, the dean of the professional school            Board ofTrustees.
      concerned, or the dean of Summer School) whose office had                An appeal to the Board ofTrustees shall be considered
      responsibility for the admission in question (hereafter the           by a three-person panel of the Board ofTrustees and shall
     "admissions officer") within 30 days after the University posts        be solely on the written record, unless the panel expressly
      the appellant's online decision. The appeal shall be in writing       requests the presence, in person or by phone, of both the
      and shall set forth the grounds for the appeal.                       appellant and the admissions officer or his or her designee.
         Upon receipt of the appeal, the admissions officer shall           This three-person panel shall have full authority to act on
      review the applicant-appellant's file and appeal letter and           behalf of the Board of Trustees, and the decision of the panel
      shall communicate his or her decision to the appellant in             shall be deemed the decision of the Board ofTrustees.
      writing.                                                                 The Board ofTrustees panel shall consider the record
 II. Appeal to Provost                                                      presented to the provost and all documents and other
      The decision of the admissions officer may be appealed to             writings submitted by the appellant and the admissions
      the provost only if it is contended that a) a provision set           officer. The trustee panel may reverse the decision of the
      forth in the admissions policy has been violated or b) the            provost only upon a showing by the appellant of clear
      decision not to admit the individual or to rescind admission          and material error on the part of the provost in his or her
      resulted from a material procedural error in the admissions,          decision. Otherwise, the panel shall sustain the provost's
      or appeal, process. Such an appeal shall be lodged with the           decision. Ifthe trustee panel reverses the provost's decision,
      provost by filing a letter of appeal specifying the grounds for       the panel shall remand the case to the appropriate admissions
      the appeal within 15 days after the appellant has received the        office for reconsideration in light of any guidance the
      letter communicating the decision of the admissions officer.          trustee panel chooses to provide. The panel's decision will
         The appeal shall be heard by the provost or the provost's          be communicated to the appellant in writing. There is no
      designee, and the appellant, at his or her option, may appear         appeal from the decision of the trustee panel.




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Undergraduate Admissions

The Office of Undergraduate Admissions serves students interested        • Official results from the SAT Reasoning or the ACT Plus Writing
in continuing their education at the University of North Carolina          examination
at Chapel Hill. Applications from all students are accepted and          • Counselor statement and one teacher recommendation (if the
considered. Eighty-two percent of the first-year dass will be from         candidate is in his or her first year at a new school, an additional
North Carolina, with 18 percent coming from outside the state.             recommendation from the previous school is suggested)
                                                                         • Any additional items or information requested in the application
                                                                           or by the Office of Undergraduate Admissions.
Admission Requirements
                                                                         In addition to the required information indicated above, applicants
Admission to the University of North Carolina at Chapel Hill is          may submit information that will enhance the University's
competitive. Although all 16 public universities in North Carolina       understanding of the student's background and preparation
share the same minimum course and admission requirements,                for college. The Office of Undergraduate Admissions, in its
which are published at www.northcarolina.edu, these minimum              discretion, may deny admission to students who submit completed
credentials do not guarantee admission to UNC—Clapel Hill, and           applications but who do not provide one or more of the materials
successful candidates typically exceed them.                             listed above.
   In evaluating candidates for admission, the University seeks
an entering class whose collective strengths will foster excellence      Transfer Admission
within the University community; enhance the education of                A student is considered a transfer applicant if he/she has attended
everyone within it; provide for the leadership of the educational,       another postsecondary institution after graduating from high
governmental, scientific, business, humanistic, artistic, and            school. Such students may apply for transfer admission by
professional institution of the state, nation, and world; and enrich     following the instructions at www.admissions.unc.etlu. In addition
the lives of all the people of North Carolina.                           to the completed application, which includes the nonrefundable
   The University evaluates individual candidates rigorously,            application fee (or fee-waiver request) and required essays, students
holistically, and sympathetically. The admissions committee seeks to     are expected to submit the following materials:
assess the ways in which each candidate will likely contribute to the    • Official transcript from all colleges attended, including summer
campus community and enable the University to fulfill its mission.         sessions and including any online or distance-education classes
The qualities we seek include intellect, talent, curiosity, and          • Official high school transcript (grades nine through 12)
creativity; leadership, kindness, and courage; honesty, perseverance,    • Official results from the SAT Reasoning or the ACT Plus Writing
perspective, and diversity. Although we expect each successful             examination (sophomore transfers only)
candidate to demonstrate strength in many of these areas, we do          • Any additional items or information requested in the application
not expect every candidate to be equally strong in all of them. Just       or by the Office of Undergraduate Admissions
as there is no formula for admission, there is no list of qualities or   • Community standards form or criminal background check (for all
characteristics that every applicant must present.                         enrolling transfer students and for other candidates as requested
   In evaluating each candidate's academic record, the admissions          by the Office of Undergraduate Admissions).
committee considers not only the student's grades but also the           The Office of Undergraduate Admissions, in its discretion, may
difficulty of the courses attempted. Although each candidate's           deny admission to students who submit completed applications but
academic record and standardized test scores are important dements       who do not provide one or more of the additional materials listed
in the admissions decision, the candidate's essays, accomplishments      above.
outside the classroom, and personal qualities are also carefully
                                                                         Standardized Testing
considered.
   By their anticipated date of enrollment, candidates for admission     In accordance with University policy, as well as procedures approved
must have graduated from secondary school. In addition, the              by the Advisory Committee on Undergraduate Admissions,
University asks that candidates present evidence of the capacity to      the admissions committee evaluates each candidate rigorously,
cope with the demands of University life.                                holistically, and sympathetically, with an eye towards assessing
                                                                         the candidate's capacity to contribute to the kind of campus
Items Necessary for a Complete Application                               community that will enable the University to fulfill its mission.
                                                                         Although each evaluation includes the results of standardized
First-Year Admission
                                                                         testing, these results do not constitute the sole or main criterion for
Students may apply for admission by following the instructions at        admission. There are no cutoff or threshold scores, no scores below
 vv.w.acimissions.unc.edu. In addition to the completed application,     which candidates are automatically denied admission, and no scores
which includes the nonrefundable application fee (or fee-waiver          above which they are automatically offered admission. Instead,
request) and required essays, students are expected to submit the        results from standardized testing represent one factor among many.
following materials:                                                     For more about the role of tests in admissions, please see wvvvv.
• Official transcript(s) from all secondary schools and all colleges     admissions.unc.edu.
  or universities attended




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18 UNDERGRADUATE ADMISSIONS



Fall/Winter Grades for Transfer Applicants                              included in the UNC grade point average.

The fall and winter grades should be submitted to the Office of         College Board Placement Tests
Undergraduate Admissions as soon as they become available. An
                                                                        The University recognizes, for placement and degree credit,
application will be considered incomplete without them.
                                                                        satisfactory scores on the College Board Advanced Placement,
High School Course Requirements                                         International Baccalaureate, and certain SAT Subject Tests. For
                                                                        more information, please visit www.admissions.unc.edu.
Students interested in attending the University should pursue
                                                                        Information about College Board tests and applications for
a challenging high school curriculum. Such a curriculum will
                                                                        specific tests may be obtained by visiting www.collegeboard.
typically include at least five academic courses during each year of
                                                                        corn; by writing the Educational Testing Service (Rosedale Road,
high school—preferably one each in the core disciplines of English,
                                                                        Princeton, NJ 08541) or by contacting a high school counselor.
mathematics, social science, natural science, and foreign language.
                                                                        Applicants should apply to take a test six to eight weeks in
We also encourage our candidates to take at least five of the most
                                                                        advance of the actual test date.
rigorous courses available to them, including college-level courses
offered through Advanced Placement, International Baccalaureate,        Transfer Candidates
or dual-enrollment programs. In evaluating academic performance
                                                                        The requirements for transfer applicants are listed in the UNC
in such a curriculum, we pay less attention to class rank and grade
                                                                        Policy Manual (Chapter 700.1.1.2[R]).Transfer applicants
point average than we do to grades and to trends and patterns in
                                                                        deficient in any of the minimum course or admission
grades.
                                                                        requirements will be eligible for transfer consideration only ifone
   To be considered for first-year admission, all applicants should
                                                                        of the following two conditions is met:
meet the minimum high school (including the ninth grade)
                                                                           A. The applicant has earned at least 24 transferrable
course requirements of the University of North Carolina system.
                                                                        undergraduate credits from one or more regionally accredited,
These requirements are listed in the UNC Policy Manual (Chapter
                                                                        postsecondary institutions. Undergraduate credits awarded for AP,
700.1.1.1[R]).
                                                                        IB, or other credit by exam shall not be included as part of these
   Candidates who do not fulfill these course requirements may
                                                                        24 hours. OR
still apply for admission and be considered for an exception,
                                                                           B. The applicant is at least 21 years old.
although such exceptions are made rarely. Because admission to
                                                                           To be considered for transfer admission, students must present
the University is competitive, candidates should normally enroll in
                                                                        at least a C average (2.0 on a 4.0 scale) in all courses attempted
courses beyond these minimum requirements.
                                                                        at other accredited colleges and universities. However, a much
   Since admitted students will take placement exams in foreign
                                                                        higher average is required to be competitive.
language, candidates should continue in advanced foreign language
                                                                           Except as otherwise noted, transfer students must satisfy
courses during their final year in high school even if they have
                                                                        the minimum course requirements of the University of North
already met the minimum requirements.
                                                                        Carolina system, even if these requirements differ from the
   Placement in courses during students' first semester at the
                                                                        minimum requirements of their previous institutions.
University will be based on their performance on placement tests.
                                                                           Students also must be eligible to return to all institutions
Students may also receive credit for University courses based on
                                                                        previously attended. Students who have less than a C average
dual-enrollment courses taken during high school. Although
                                                                        and who are, therefore, academically ineligible for consideration
the student will take placement exams in some subjects at the
                                                                        as transfer students may complete courses at another university
University before the first semester begins, it is to the student's
                                                                        in order to raise their grade point average to the point where
advantage to take placement tests in high school, especially
                                                                        they may be considered for transfer admission to the University.
those accepted by the University for placement purposes. For
                                                                        Coursework attempted through any academic program at UNC-
mathematics placement, the Department of Mathematics
                                                                        Chapel Hill cannot be used to increase a student's grade point
strongly recommends that enrolling students arrange to take the
                                                                        average for the purpose of establishing transfer eligibility.
Mathematics 2 SAT Subject Test; although this test is not required
                                                                           The Office of Undergraduate Admissions evaluates candidates
for admission, many majors at Carolina require a quantitative
                                                                        comprehensively and holistically based on both their high school
reasoning course for which a mathematics placement score is
                                                                        and college records. We value strong performance in a challenging
necessary. Foreign language placement may be based on University
                                                                        curriculum, including courses in English, mathematics,
placement exams, SAT Subject Tests, or College Board Advanced
                                                                        laboratory science, social science, and foreign language. All
Placement tests. For English placement, students are required to
                                                                        established academic records, as well as personal qualities and
take either English 105 at the University, or present an equivalent
                                                                        accomplishments, will be considered in the selection of the
transferable course from another college or university. Students also
                                                                        transfer class.
are encouraged to take standardized tests that are recognized for
                                                                           Once an applicant is admitted as a transfer student, all course
placement in other subject areas.
                                                                        credits taken at UNC-Chapel Hill become part of the student's
Dual Enrollment for High School Students                                official transcript, and grades received are included in the grade
                                                                        point average.
All courses attempted at UNC-Chapel Hill, including but not
                                                                           A transfer student' class standing upon admission is based
limited to summer session courses and dual-enrollment courses
                                                                        on credit hours accepted by UNC-Chapel Hill for transfer, not
attempted while a student is still in secondary school, will be




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on the number of semesters enrolled at other colleges. Because        Transfer of Credit
students are allowed only eight undergraduate semesters to
                                                                      The University will award credit hours for courses from other
complete their degrees at the University, the number of semesters
                                                                      accredited institutions when the student has made a satisfactory
that a student completes before enrolling at Carolina determines
                                                                      grade (a C or its equivalent) and when a similar course is offered
the number of semesters available after enrolling. Because at least
                                                                      by the University. Ifa passing grade ofI)is earned, the University
15 credit hours are required to complete a semester, a student's
                                                                      will grant credit for the course but no hours will be awarded. Ifno
class standing upon enrollment at UNC—Chapel Hill may
                                                                      passing grade is earned, no credit or hours will be granted. In most
differ from his or her class standing at the college or university
                                                                      cases, professional courses and courses taken from nonaccredited
previously attended. Students must earn at least 45 academic
                                                                      institutions (including foreign institutions) will not transfer. The
credit hours at UNC—Chapel Hill to earn a UNC—Chapel Hill
                                                                      Office of Undergraduate Admissions may grant credit from foreign
degree.
                                                                      institutions to entering transfer students when the student provides
    A new transfer student with fewer than 30 hours of transfer
                                                                      an evaluation conducted by a professional evaluation service found
credit accepted by UNC—Chapel Hill will have class standing as a
                                                                      at www.naces.org. For other institutions, the courses must be
first-year student upon admission to the University.
                                                                      approved through the appropriate departments at this University,
    To enroll with sophomore class standing, a new transfer student
                                                                      and the departments will determine if the course(s) may be applied
must have at least 30 (and fewer than 59) credit hours accepted
                                                                      toward requirements for the degree.
for transfer by UNC—Chapel Hill. Summer enrollment and AP/
                                                                         The Office of Undergraduate Admissions will not award any
IB Subject Test credit immediately prior to the first semester of
                                                                      credit hours to currently enrolled UNC—Chapel Hill students for
UNC—Chapel Hill enrollment will not be counted in the hours
                                                                      courses taken outside the Unites States, inducting study abroad
needed to qualify as a sophomore.
                                                                      courses offered by colleges and universities accredited within the
    To enroll with junior class standing, a new transfer student
                                                                      United States. Credit will only be awarded for such courses ifthe
must have at least 60 credit hours accepted for transfer by UNC,—
                                                                      UNC—Chapel Hill Study Abroad Office in the College of Arts and
Chapel Hill. Summer enrollment and AP/IB Subject Test credit
                                                                      Sciences has approved them. Ifa student enrolls in a study abroad
immediately prior to the first semester of UNC—Chapel Hill
                                                                      program offered through a UNC professional school and not
enrollment will not be counted in the hours needed to qualify as
                                                                      the College of Arts and Sciences, the student must seek approval
a junior.
                                                                      through that professional school.
More specifically,
                                                                         The University honors the official Comprehensive Articulation
• A new transfer student with fewer than 15.0 transferable credit
                                                                      Agreement with the North Carolina Community College System.
  hours will be regarded as having completed no semesters and
                                                                         The University will consult two publications when settling
   will have first-year standing upon enrollment at UNC—Chapel
                                                                      questions that arise concerning the transfer of credit: Transfer Credit
   Hill.
• A new transfer student having between 15.0 and 29.9
                                                                      Practices, published by the American Association of Collegiate
                                                                      Registrars and Admissions Officers, and Accredited Institutions of
   transferable credit hours will be regarded as having completed
  one semester and will have first-year standing upon enrollment
                                                                      Post-Secondary Education, published by the American Council on
                                                                      Education.
   at UNC—Chapel Hill.
                                                                         A student may petition any University course credit evaluation
• A new transfer student having between 30.0 and 44.9
                                                                      provided by the Office of Undergraduate Admissions through the
   transferable credit hours will be regarded as having completed
                                                                      appropriate academic department. Additional information about
   two semesters and will have sophomore standing upon
                                                                      having courses reevaluated is available at admissions.unc.edu. The
  enrollment at UNC—Chapel Hill.
                                                                      academic department will determine how many, if any, credits can
• A new transfer student having between 45.0 and 59.9
                                                                      be awarded.
   transferable credit hours will be regarded as having completed
                                                                         Students seeking transfer to the University may wish to plan
   three semesters and will have sophomore standing upon
                                                                      their courses at their current institution in a way that will ensure
  enrollment at UNC—Chapel Hill.
                                                                      the transfer of those courses. The University encourages such prior
• A new transfer student having between 60.0 and 75.0
                                                                      planning, and the Office of Undergraduate Admissions will assist
   transferable credit hours will be regarded as having completed
                                                                      prospective transfer students with it.
   four semesters and will have junior standing upon enrollment at
                                                                         The University will award a maximum of 75 semester hours of
  UNC—Chapel Hill.
                                                                      transfer credit ifthe student's last attended institution was a four-
Offers of admission typically are extended before an applicant's
                                                                      year institution. Students may transfer credit hours from a two-year
transfer credit can be fully evaluated. As a result, while transfer
                                                                      institution only while they are earning their first 64 hours of college
students are advised of their likely classification at the point of
                                                                      credit. For example, ifa student has transferred fewer than 64 credit
admission, this classification is provisional until confirmed by
                                                                      hours from two-year institutions but has earned 64 or more total
notification of transfer credits earned.
                                                                      credit hours (including hours from UNC—Chapel Hill or other
                                                                      four-year institutions), the student cannot transfer any additional
                                                                      credit hours from a two-year institution.
                                                                         Ifa student enrolls in a course at a two-year institution
                                                                      concurrently with enrollment in courses at a four-year institution




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(including UNC—Chapel Hill), transfer credit hours will not be       to the professional schools offering these degree programs.
awarded for the course taken at the two-year institution if the      Students interested in one of these fields may wish to consider
hours from the concurrent courses at the four-year institution       another major as a second choice; however, even if admitted to
bring the total earned hours to 64 or more.                          an alternate program, students cannot be guaranteed subsequent
   For the calculations described herein, credit hours are tallied   admission to their first choice of major. In addition, notification
according to the chronological order in which the courses are        of acceptance to these programs is generally later than for other
taken, not according to the sequence in which documentation          programs.
of the credits are submitted to the Office of Undergraduate
Admissions.
                                                                     Health Program Majors
Military-Affiliated Students                                         Early applications for these programs are encouraged. After
We welcome applications from veterans of the United States           completion of the fall semester, a transcript of that semester's
military, active-duty servicemen and women, and their                work should be submitted. Applicants should also contact the
dependents. All persons who have completed a minimum of three        specific department for additional application materials and
years of active duty service will be considered transfer students    specific program requirements.
with the branch of service functioning as the institution of            Junior transfer applicants for the pharmacy program must apply
transfer. Veterans and those who remain on active duty may earn      directly to the School of Pharmacy. Junior transfer applicants also
as many as 18 hours of University credit, depending upon their       must provide Pharmacy College Admission Test scores as part of
experience. Those on active duty may qualify for the military        the application. Sophomore students must apply directly to the
tuition benefit, which allows them to attend the University at       Office of Undergraduate Admissions.
the in-state tuition rate. Students who are eligible for GI Bill
or other veteran education benefits must apply directly to the
                                                                     Music or Dramatic Art Majors
U.S. Department of Veterans Affairs for these funds. For more
information, please visit admissions.unc.edu/apply/military-         First-year and transfer students applying as music majors should
veterans.                                                            contact the director of undergraduate studies in music at 101 Hill
                                                                     Hall to arrange an audition. Please indicate whether you wish to
                                                                     study voice or an instrument; if an instrument, please indicate
Application and Notification Deadlines                               which one. Students applying to major in the dramatic arts should
First-year applicants may apply for admission for their choice of    contact the director of undergraduate studies in dramatic art at
one of two deadlines, neither of which is binding. Decisions will    222 Center for Dramatic Art.
be posted online for all applicants through the ConnectCarolina
Student Center. For the latest first-year admission deadlines and    Confirmation of Acceptance
notification dates, please visit www.admissions.unc.edu.
  The application deadline and notification dates for sophomore      The University requires a nonrefundable enrollment deposit,
and junior admission to the College of Arts and Sciences and         due by May 1 for first-year admission or mid-May for transfer
the School of Media and Journalism are available at VVVVW.           admission or within two weeks of receipt of the admission
admissions.unc.edu. The admission deadlines and notification         decision for students admitted after the deadline, whichever is
dates for junior transfer applicants to the professional schools     later.
with programs in dental hygiene, clinical laboratory science,           Degree-seeking students who wish to start their studies during
health policy and management, nursing, radiologic science,           the summer must notify the Office of Undergraduate Admissions
and biostatistics vary by department. Please contact the specific    of their plans and pay their summer fees as well as the fall term
department for additional information.                               deposits to reserve a space for the fall term.


Appeals of Admissions Decisions                                      Admission of International Students
For information on appealing an admissions decision, refer to the    International students are considered for admission on the same
"Admissions Appeal Procedure" in the "Admissions" section of this    basis as other candidates and must provide the same information
bulletin.                                                            required of all other applicants. In addition, international students
                                                                     are required to submit results on the Test of English as a Foreign
                                                                     Language (TOEFL) (minimum score of 100), the International
Programs with Limited Admissions                                     English Language Testing System (IELTS) (minimum band score
Only a small number of transfer students will be admitted to the     of 7), or the Pearson Test of English (minimum score of 68) if
professional schools offering majors in media and journalism,        English is not their native language. As a condition of enrollment,
and the allied health and public health programs. Junior transfer    all entering students who have completed coursework from a
students planning to major in business administration, education,    foreign college or university that is not accredited within the
environmental health science, nutrition, or information and          United States must have their official transcripts evaluated by an
library science must enroll in the College of Arts and Sciences      accredited evaluation service such as the services available at
and complete at least one semester before applying for admission     www.naces.org.




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                                                                                             WWW.IINC.EDU/UGRADBULLETEN                  21



   United States immigration law requires proof of financial          eligibility through work done in a summer session must apply for
support for the student's entire program of study. Before             readmission through the Office of Undergraduate Admissions,
enrollment, admitted students must provide documentation              CB# 2200, Jackson Hall.
that they have sufficient funds in a bank to cover the first year
of tuition and living expenses. See the section "Finances and
                                                                      Admissions Confidentiality
Financial Aid" in this bulletin for information on expenses.
The University will issue the necessary visa documentation to         The University of North Carolina at Chapel Hill will protect
those students who are formally admitted to the University.           the privacy of all students seeking admission through the Office
International students should not leave their native country          of Undergraduate Admissions by soliciting and receiving all
intending to enroll at the University until they have received a      academic and nonacademic records obtained for the purpose of
formal letter of acceptance and appropriate visa documents.           admission on the condition that they be held in confidence by
   Questions concerning international student life on the UNC—        the University. No information obtained through the admissions
Chapel Hill campus should be referred to the Foreign Student          process will be shared with individuals, internal or external to the
Advisor, CB# 5240, Room 2004 FedEx Global Education Center,           University, other than the chancellor, the provost, and members
301 Pittsboro Street, The University of North Carolina at Chapel      of the Advisory Committee on Undergraduate Admissions and its
Hill, Chapel Hill, NC 27599-5240.                                     subcommittees.
                                                                        Though current federal legislation allows students enrolling at
                                                                      the University access to their files, students do not have access to
Readmission                                                           their applications.
Any student who withdraws or for any other reason fails to               Exceptions to this confidentiality policy will be made only at
complete a semester must apply for readmission through the            the direction of the chancellor or the provost.
Office of Undergraduate Admissions. Students applying in this
manner must submit a nonrefundable application fee or fee
                                                                      Further Information
waiver request, as indicated in the application. Application for
readmission should be made as early as possible and no later than     For additional information and services related to the admission
the stated deadline found on the application for readmission. The     of first-year and transfer students, please contact the Vice Provost
readmission application is available at www.admissions.unc.edu.       for Enrollment and Undergraduate Admissions, CB# 2200,
   A student leaving the University with an academic deficiency       Jackson Hall, The University of North Carolina at Chapel Hill,
must restore his or her eligibility in order to be readmitted as a    Chapel Hill, NC 27599-2200.
regular student. Restoration of eligibility can be accomplished
only by enrolling in summer sessions or through distance-             Intra-University Transfer
education instruction from the University (see below).
                                                                      Transfer from one school or college within the University is
   Students who have enrolled in courses at another college or
                                                                      possible with the approval of both academic deans concerned.
university since their last enrollment at the University of North
Carolina at Chapel Hill must submit transcripts of these courses
and must have maintained a C average for all such courses             Other Credit Programs
attempted in order to be eligible for readmission. The grade point    Carolina Courses Online
average required for readmission is based on all courses attempted
on all campuses. (By contrast, a student's UNC—Chapel Hill grade      Carolina Courses Online is a distance-education program that
point average is based on UNC—Chapel Hill courses only.)              offers UNC—Chapel Hill courses over the Internet. Class sessions
   Students leaving the University for medical or disciplinary        are not required, but courses follow the semester schedule. Access
reasons must be cleared by the appropriate office before being        to the World Wide Web and e-mail are required in order to enroll.
readmitted.                                                           The courses are administered through the Friday Center for
   Because the University must adhere to enrollment projections,      Continuing Education, (919) 962-1134.
readmission cannot be guaranteed even if the student is                  Undergraduate students in the College of Arts and Sciences are
academically eligible.                                                limited to 24 credit hours toward a degree at UNC—Chapel Hill
                                                                      through Carolina Courses Online.
                                                                         See the section in this bulletin under "Distance-Learning
Admission as a Summer School Visitor                                  Courses via the Friday Center for Continuing Education" for
Any student who has not been regularly enrolled or has not been       additional information.
admitted for a fall semester in any school in the University should   Self-Paced Courses
send an application for admission as a visiting summer student to
                                                                         Many undergraduate distance-education opportunities are
the Dean of Summer School, CB# 3340, 134 E. Franklin Street.
                                                                      available through Self-Paced Courses, including online and print-
By contrast, those students who are in residence at the University
                                                                      based correspondence courses. Students can enroll at any time,
will register for a summer session through their academic dean
                                                                      work at their own pace, and take up to nine months to complete
or advisor and need not make a separate application to the Dean
                                                                      a course. Undergraduate students in the College of Arts and
of Summer School. A student who plans to restore academic
                                                                      Sciences are not allowed to take Self-Paced Courses except in




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unusual circumstances; written consent of the student's dean is              Admission to Part-Time Classroom Studies does not constitute
required in order to enroll.                                              admission to a degree program at the University. Undergraduates
   Students found academically ineligible to continue in resident         wishing to pursue a degree must be accepted for transfer into one
study at the University should consider enrolling in Carolina             of the degree-granting schools or colleges of the University. For a
Courses Online and/or Summer School. If extraordinary                     bachelor's degree a minimum of 45 academic credit hours must
circumstances exist, a student may contact his or her dean to             be earned from UNC—Chapel Hill, and at least 24 of the last 30
discuss using Self-Paced Courses to restore eligibility.                  academic credits must be earned from UNC—Chapel Hill courses.
   Application for Self-Paced Courses is made to the Friday               Beyond these minimum course requirements, students attempting
Center for Continuing Education, CB# 1020, (919) 962-1134.                to transfer from Part-Time Classroom Studies into one of the
Application forms and a complete catalog of course listings may           degree-seeking schools or colleges of the University must present
be obtained from the same office.                                         evidence that they are prepared to make satisfactory progress
                                                                          towards the degree. Postbaccalaureate students must apply and be
                                                                          accepted to a graduate degree program.
Admission to Part-Time Classroom Studies
                                                                             Undergraduate students enrolled through Part-Time Classroom
Part-Time Classroom Studies is the academic unit in the Friday            Studies for personal benefit and enjoyment may apply to convert
Center for Continuing Education through which area adults                 to degree-seeking status. Such applications will be reviewed in
(customarily students aged 24 and older) enroll in University             light of the criteria for admission to Part-Time Classroom Studies
courses part time. Both undergraduate and postbaccalaureate               for degree-seeking status.
students are admitted without respect to race, color, national
origin, religion, sex, age, or handicap.
   Part-Time Classroom Studies students may register for a                Orientation and New Student Registration
maximum course load of eight credit hours per semester. A                 Summer orientation offers a range of programs intended to
small selection of courses is scheduled for the evening hours; the        introduce new students and their parents to the University; to
University's daytime courses are also open to Part-Time Classroom         acquaint them with the academic opportunities available to
Studies students if space permits.                                        undergraduates; to aid them in their adjustment to campus living;
   Undergraduate or high school students desiring to enroll               to offer other information, discussion, and academic advice; and
through Part-Time Classroom Studies should file an admission              to help them thrive when they join the Carolina community. New
application and nonrefundable application fee with the Office of          student orientation continues when students arrive in the fall with
Undergraduate Admissions, CB# 2200, Jackson Hall, University              a variety of activities during the Week of Welcome.
of North Carolina at Chapel Hill, Chapel Hill, NC 27599-2200,
or at www.admissions.unc.edu.
                                                                          Transfer Student Orientation
   Admission is limited for both prospective degree candidates
and for those seeking to take courses for personal benefit and            All new undergraduate students admitted as sophomore or junior
enjoyment. To be eligible, students must have been away from              transfers are required to attend one of the summer orientation
a traditional school setting for at least 12 months and must              programs designed specifically for transfer students to learn about
have graduated from a secondary school. Admission is available            college life at Carolina.
to UNC—Chapel Hill faculty and staff employees. Traditional                  During this one-day transfer orientation program, new transfer
students who have been denied full-time admission to the                  students meet and interact with faculty, staff, and other new
University are not immediately eligible for enrollment through            transfer students. Students attend a formal welcome, learn about
Part-Time Classroom Studies. All students admitted as prospective         academic advising, learn about the services and educational
degree candidates must meet minimum University requirements               opportunities, and, if applicable, complete a foreign language
for admission. In considering prospective degree candidates for           placement examination.
admission, the Office of Undergraduate Admissions shall use                  To help ensure the availability of preferred courses, transfer
the same admissions criteria that it uses to evaluate comparable          students should register for fall classes prior to summer
full-time, degree-seeking students applying to the University. For        orientation. Transfer students may enroll online to register
information about those criteria, please see the sections on first-year   for courses as soon as their deposit is paid and the personal
and transfer admission above. Students who have a baccalaureate           identification number (PID number) is generated.
degree may apply online at fridaycenter.unc.edu.




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